
In re State of Louisiana; — Plaintiff; Applying For Supervisory and/or Remedial Writs, Parish of Orleans, Criminal District Court Div. J, No. 489-552; to the Court of Appeal, Fourth Circuit, No. 2011-K-1624.
Writ granted. The ruling of the trial court denying the motion in limine is reversed, and the State is permitted to introduce the statements of the victim made to the Jefferson Parish Sheriffs Office, subject to a limiting instruction under La. C.E. art. 105 if requested by the defendants. The statements sought to be introduced are not inadmissible hearsay because they are not being offered for the truth of the matter asserted, i.e., that the individual identified by the victim committed the 2008 armed robbery. Rather, the statements are being offered for the purpose of establishing the defendants’ motive for killing the victim, i.e., retaliation for the victim’s cooperation with law enforcement authorities regarding the armed robbery case.
